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  6                           UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
  7                                 LOS ANGELES DIVISION
  8    In re                                            LEAD CASE NO.: 2:18-bk-20151-ER
  9    VERITY HEALTH SYSTEM OF                       CHAPTER: 11
                                                     JOINTLY ADMINISTERED WITH:
 10    CALIFORNIA, INC., et al.,                     CASE NO.: 2:18-bk-20162-ER
                                                     CASE NO.: 2:18-bk-20163-ER
 11                                                  CASE NO.: 2:18-bk-20164-ER
              Debtors and Debtors in Possession.     CASE NO.: 2:18-bk-20165-ER
 12                                                  CASE NO.: 2:18-bk-20167-ER
                                                     CASE NO.: 2:18-bk-20168-ER
 13     Affects All Debtors                         CASE NO.: 2:18-bk-20169-ER
        Affects Verity Health System of California, CASE NO.: 2:18-bk-20171-ER
 14      Inc.                                        CASE NO.: 2:18-bk-20172-ER
        Affects O’Connor Hospital                   CASE NO.: 2:18-bk-20173-ER
 15     Affects Saint Louise Regional Hospital      CASE NO.: 2:18-bk-20175-ER
        Affects St. Francis Medical Center          CASE NO.: 2:18-bk-20176-ER
 16     Affects St. Vincent Medical Center          CASE NO.: 2:18-bk-20178-ER
        Affects Seton Medical Center                CASE NO.: 2:18-bk-20179-ER
 17     Affects O’Connor Hospital Foundation        CASE NO.: 2:18-bk-20180-ER
        Affects Saint Louise Regional Hospital      CASE NO.: 2:18-bk-20181-ER
 18      Foundation
        Affects St. Francis Medical Center of       RESPONSE OF STRATEGIC GLOBAL
 19      Lynwood Foundation                          MANAGEMENT, INC. TO “MOTION TO
        Affects St. Vincent Foundation              COMPEL COMPLIANCE WITH ORDER
 20     Affects St. Vincent Dialysis Center, Inc.   APPROVING PROCEDURES RELATED
        Affects Seton Medical Center Foundation     TO THE ASSUMPTION OF CERTAIN
 21     Affects Verity Business Services            EXECUTORY CONTRACTS AND
        Affects Verity Medical Foundation           UNEXPIRED LEASES” [DOC. NO. 2563]
 22     Affects Verity Holdings, LLC
        Affects De Paul Ventures, LLC
 23     Affects De Paul Ventures – San Jose ASC,
         LLC
 24                                                  Hearing:
              Debtors and Debtors in Possession.     Date: July 10, 2019
 25                                                  Time: 10:00 a.m.
                                                     Place: Courtroom 1568
 26                                                         255 East Temple Street
                                                            Los Angeles, CA 90012
 27

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  1           Strategic Global Management, Inc. (“SGM”) submits the following response to the “Motion
  2   To Compel Compliance With Order Approving Procedures Related To The Assumption Of Certain
  3   Executory Contracts And Unexpired Leases” (the “Motion”) filed by UnitedHealthcare Insurance
  4   Company (the “Movant”)1, and respectfully represents as follows:
  5                                                            I.
  6                                                     RESPONSE
  7           Movant seeks a Court order compelling the debtors (the “Debtors”) and SGM to
  8   “immediately” make an “irrevocable designation” as to whether the United Provider Agreements2
  9   (consisting of the St. Vincent and St. Francis Capitation Agreements, and St. Vincent and St.
 10   Francis Facility Participation Agreements) will be assumed or rejected. Movant primarily relies
 11   on paragraph 7 of the Court’s Bid Procedures Order [Doc. No. 1572], which provides, in relevant
 12   part:
 13           The objection of Cigna Healthcare of California, Inc. (“Cigna”) [Doc. Nos. 1349
 14           and 1459] is sustained. The Debtors shall, no later than the earlier of (i) 48 hours
              after the conclusion of the Auction, or (ii) thirty (30) days prior to the Closing
 15           Date, provide Cigna with written notice of its irrevocable decision as to whether
              or not the Debtors propose to assume and assign any or all of the Cigna Provider
 16           Agreements as part of the Sale; provided, however, that such notice shall be
              irrevocable only to the extent that the Successful Bidder’s transaction is approved
 17
              by this Court and an order thereon becomes final and non-appealable. The
 18           Debtors shall provide the same notice to UnitedHealthcare Insurance Company.

 19   (Bid Procedures Order, Doc. No. 1572, ¶ 7).3 Despite acknowledging that the United Provider

 20   Agreements have been designated for assumption and assignment, Movant seeks an “irrevocable”

 21   decision so that it can provide at least “60 days’ notice to members prior to the termination of a

 22   contract with a health care provider.” (Mot. 12).

 23

 24   1
        On June 20, 2019, Cigna Healthcare of California, Inc., Cigna Health and Life Insurance Company, and Life
      Insurance Company of North America (collectively, “Cigna”) filed a joinder to the Motion [Doc. No. 2577]. Where
 25   applicable, this Response is also a response to the joinder filed by Cigna.
      2
        All capitalized but undefined terms herein shall have the same meanings ascribed to them in the Motion.
 26   3
        As noted in the Court’s tentative ruling for the Bid Procedures Motion, see (Goldstein Decl. Ex. 1, Doc. No. 2564,
      Cigna contended that the “Debtors’ concerns could be resolved with the following language “ . . . provided, however,
 27   that such notice shall be irrevocable only to the extent that the Successful Bidder’s transaction is approved by this
      Court, and the Successful Bidder’s transaction survives any potential litigation with the Attorney General of
 28   California.”) (emphasis, in bold, added).


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  1          However – given the: (1) complexity of pending issues related to the Debtors’ sales
  2   transaction with SGM (the “Sale”), which the Debtors and SGM are currently working to address;
  3   and (2) thousands of the Debtors’ contracts and unexpired leases (the “Executory Contracts”),
  4   that require review and analysis by SGM – SGM is not prepared to make an “irrevocable”
  5   decision with regard to the United Provider Agreements at this time.
  6          As an initial matter, it cannot be reasonably disputed that Healthcare facilities are
  7   enormously complicated businesses. They consist of a multi-dimensional array of complex
  8   relationships involving, among others: (1) multiple sources of revenue that are ever-changing,
  9   including government reimbursements from various state and federal sources, insurance
 10   companies, health plans and private payers; (2) a regulatory overlay, requiring compliance with a
 11   mind numbingly amalgam of federal, state and local regulations, requiring extraordinary expense;
 12   (3) thousands of contractual relationships with pharmaceutical companies, suppliers, vendors,
 13   equipment lessors, unions, employees, practice groups, IPAs, physicians, nurses, professional
 14   staff and technicians; (4) responsibilities and risks associated with all facets of patient care; (5)
 15   voluminous record keeping; (6) compliance with regulatory audits; (7) management and
 16   administration of thousands of employees; (8) care and maintenance of health care facilities
 17   encompassing multiple buildings; (9) compliance with environmental laws and regulations; and
 18   (10) capital expenditures including required seismic retrofits.
 19          As a result, SGM’s decisions with respect to the assumption or rejection of the various
 20   healthcare-related Executory Contracts, including the United Provider Agreements, necessarily
 21   present complex issues and analysis. In addition to analyzing the Executory Contracts, SGM is
 22   also working with the Debtors, among other parties in interest in the Debtors’ bankruptcy cases,
 23   to address the other various and pending issues related to the closing of the Sale. Accordingly,
 24   the Court should allow the Debtors and SGM sufficient time to complete their analysis of the
 25   Executory Contracts before making “irrevocable” decisions to assume or reject them. See In re
 26   Wheeling-Pittsburgh Steel Corp., 54 B.R. 385, 388 (Bankr. W.D. Pa. 1985) (“[T]he enormity and
 27   complexity of this bankruptcy proceeding is such that the Debtor’s limited time and personnel
 28   resources are necessarily concentrated on more pressing, though not necessarily more important,


                                                         3
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  1   matters.”).
  2          SGM is still evaluating and conducting its analysis related to the United Provider
  3   Agreements, and needs additional time to complete its review and analysis of such agreements’
  4   contractual details and replacement options, if any, that are available. Although SGM has every
  5   intention of expeditiously making decisions on whether to assume or reject the United Provider
  6   Agreements – given the factual complexities and uncertainties surrounding closing of the Sale
  7   (e.g., the AG’s decision on approval of the Sale) – it is not prepared to make “irrevocable”
  8   decisions on these agreements at this time.
  9          SGM understands the Movant’s concern that it be allowed at least “60 days’ notice to [its]
 10   members prior to the termination of a contract with a health care provider.” (Mot. 8). However,
 11   the factual realities surrounding the Sale are that: (1) the Sale Order, approving the Sale, was
 12   entered on May 2, 2019; (2) the application requesting the California attorney general’s (the
 13   “AG”) approval of the Sale was submitted on May 13, 2019; (3) as acknowledged by the Movant,
 14   the AG’s decision with regard to approval of the Sale is anticipated to be made between August
 15   11, 2019 and September 25, 2019 pursuant to Cal. Cor. Code § 5915 (i.e., decision within 90
 16   days, with an addition 45 days extension under certain conditions); and (4) if the Sale is approved
 17   by the AG (i.e., where consent is not withheld, or consent is given with conditions), the Sale can
 18   then proceed to closing. SGM will make every attempt to make a final decision with respect to
 19   the assumption of the United Provider Agreements before the AG renders its decision.
 20                                                     II.
 21                                             CONCLUSION
 22          For the foregoing reasons, SGM respectfully requests that the Court deny the Motion, and
 23   grant such other and further relief as is just and appropriate.
 24   Dated: June 26, 2019           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 25

 26
                                             By:   /s/ Gary E. Klausner
 27                                                Gary E. Klausner
 28                                          Counsel for Strategic Global Management, Inc.


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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067.
  3
      A true and correct copy of the foregoing document entitled RESPONSE OF STRATEGIC GLOBAL
  4   MANAGEMENT, INC. TO “MOTION TO COMPEL COMPLIANCE WITH ORDER APPROVING
      PROCEDURES RELATED TO THE ASSUMPTION OF CERTAIN EXECUTORY CONTRACTS AND
  5   UNEXPIRED LEASES” [DOC. NO. 2563] will be served or was served (a) on the judge in chambers in
      the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On June 26, 2019, I checked the CM/ECF docket for this bankruptcy case or
  8   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
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  9
      2. SERVED BY UNITED STATES MAIL: On June 26, 2019, I served the following persons and/or
 10   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 11   completed no later than 24 hours after the document is filed.
 12                                                                           Service information continued on attached page
 13   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 14   on June 26, 2019, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 15   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 16
      Served via Attorney Service
 17   The Honorable Ernest M. Robles
      United States Bankruptcy Court
 18   Edward R. Roybal Federal Building
      255 E. Temple Street, Suite 1560
 19   Los Angeles, CA 90012

 20   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 21
       June 26, 2019                           Lisa Masse                                /s/ Lisa Masse
 22    Date                                    Type Name                                 Signature

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